21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 1 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 2 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 3 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 4 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 5 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 6 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 7 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 8 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 9 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 10 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 11 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 12 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 13 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 14 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 15 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 16 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 17 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 18 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 19 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 20 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 21 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 22 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 23 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 24 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 25 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 26 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
                Matrix of Creditors and/or Claimants Pg 27 of 30
21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
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21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
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21-10699-dsj   Doc 310-2 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit B:
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